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                                                                    U.S. DISTRICT COURT
                                                                        N.D. OF ALABAMA




         EXHIBIT “1”
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           IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ALABAMA
                    SOUTHERN DIVISION


EVAN MILLIGAN, et al.

            Plaintiffs,
                                        Case No.: 2:21-CV-01530-AMM
vs.
                                          (THREE-JUDGE COURT)
WES ALLEN, in his official capacity
as Alabama Secretary of State, et al.

            Defendants.

        AMICI CURIAE BRIEF OF REPRESENTATIVE TERRI
      SEWELL AND MEMBERS OF CONGRESSIONAL BLACK
        CAUCUS OF THE U.S. SENATE AND U.S. HOUSE OF
        REPRESENTATIVES IN SUPPORT OF PLAINTIFFS’
         OBJECTIONS TO ALABAMA’S REMEDIAL PLAN
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                       INTEREST OF AMICUS CURIAE

      The Congressional Black Caucus (“CBC”) consists of 58 members of the U.S.

Congress in the 118th Congress —56 members of the U.S. House of Representatives

and two members of the U.S. Senate. Since its establishment in 1971, the CBC has

been committed to using the full Constitutional power, statutory authority, and

financial resources of the federal government to ensure that Black Americans and

other marginalized communities in the United States have the opportunity to achieve

the American Dream. It is firmly committed to protecting the voting rights of all

Americans and of Black Americans in particular.

      Representative Terri Sewell represents Alabama’s 7th Congressional District,

which spans the cities of Birmingham, Montgomery, Tuscaloosa, and Selma, as well

as parts of the rural Black Belt. She has served in the U.S. House of Representatives

for seven consecutive terms (since 2011). Representative Sewell joins in this amicus

brief to further the interests of Black voters throughout Alabama.

      Together, amici have an interest in preserving the opportunities of Black

Alabamians, and Black Americans in other states, to elect the candidates of their

choice. Amici are intimately familiar with discriminatory voting systems, including

redistricting plans, and the vital role that Section 2 (and redistricting plans drawn in

compliance with it) plays in relegating those systems to history.




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                         SUMMARY OF ARGUMENT
      The redistricting plan Alabama legislators approved on July 21, S.B. 5 (“the

Livingston Plan”), dilutes the voting strength of Black voters in Alabama and

violates Section 2 of the Voting Rights Act (“VRA”). As such, S.B. 5 entrenches

the historical exclusion of Black Alabamians from participating in our American

democracy. Instead of creating a second district where Black voters have an

opportunity to elect a Black-preferred candidate, S.B. 5 has created a 38.8%-Black

voting age population (“BVAP”) district—proposed Congressional District 2

(“CD2”). With only a 38.8% BVAP share of the electorate, a Black candidate under

the Livingston’s Plan’s CD2 would be certain to lose.

      As expert testimony provided by the Plaintiffs indicates, given the history of

racially polarized voting in the precincts that comprise proposed CD2, a Black

candidate is not likely to obtain more than 42.3% of the total vote in that district.

The high racial polarization in proposed CD2 renders impossible electoral victory

by any Black-preferred candidate.

      The newly enacted congressional district map fails to achieve the goals set

forth by the Supreme Court in Allen v. Milligan, 143 S. Ct. 1487 (2023). As this

Court has stated, in a conclusion endorsed by the Supreme Court, Alabama needs to

enact a map that contains two districts where Black voters constitute a majority or

“something quite close to it.” January 24, 2022 Milligan Preliminary Injunction


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Order, ECF No. 107 at 213 (“PI Order.”). Proposed Congressional District 2 does

not remotely come close.

       The Alabama Legislature’s defiance of the Supreme Court’s directive clearly

demonstrates its ongoing commitment to protecting the political preferences of a

white majority. And in signing the bill setting forth S.B. 5, Alabama’s governor has

said the quiet part out loud: “The Legislature knows our state, our people and our

districts better than the federal courts . . . .” 1

                                       ARGUMENT
I.     A 38.8%-Black Voting Population District Does Not Allow Black Voters
       to Elect Their Candidates of Choice in Alabama
       That voting is highly racially polarized in Alabama is not in dispute. See PI

Order, ECF No. 107, at 174; Ala. State Conf. of NAACP v. City of Pleasant Grove,

372 F. Supp. 3d 1333, 1340 (N.D. Ala. 2019); Jones v. Jefferson Cnty. Bd. of Educ.,

No. 2:19-cv-1821-MHH, 2019 WL 7500528, at *2 (N.D. Ala. Dec. 16, 2019);

Dillard v. Baldwin Cnty. Bd. of Educ., 686 F. Supp. 1459, 1465 (M.D. Ala. 1988).

The data presented by Plaintiffs’ experts “le[ft] no doubt in [the Court’s] mind[] that

voting in Alabama is racially polarized.” PI Order at 175.

       Indeed, in six-out-of-seven of Alabama’s electoral districts, the white-

preferred candidate always wins. See Liu Report, ECF No. 68-1 at 12. In particular,

1 Chuck Todd, et al., GOP governors defy Supreme Court, federal government, NBC News (July
25, 2023) https://www.nbcnews.com/meet-the-press/first-read/gop-governors-defy-supreme-
court-federal-government-rcna96140.

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Black voters’ preferred congressional candidate has never won an election where

Black voters comprise less than 50% of the electorate. Id. Apart from Congressional

District 7 (“CD7”), where Black voters currently have a 55% majority, Black-

preferred candidates have lost every Congressional district in every congressional

election since the creation of CD7 over thirty years ago. Id.        Plaintiffs’ and

Alabama’s experts agree that white bloc voting will usually result in the defeat of

Black-preferred candidates in white-majority districts in Alabama. Hood Report,

ECF No. 66-4 at 14; Liu Report, ECF No. 68-1 at 18; see also PI Order, ECF No.

107 at 174–77 (noting that there is no dispute among plaintiffs’ and defendants’

experts on this issue).

      That pattern will be true of Livingston CD2. According to Defendants’ own

evidence and proposed map, the percentage of the population that is Black and over

the age of eighteen—i.e., able to vote—will be only 38.8%, see Defs.’ Status Report,

ECF No. 186-1 at 2. That composition guarantees that Black-preferred candidates

in CD2 will always be defeated by a politically cohesive white majority.

      Moreover, Black-preferred candidates will receive a very small percentage

of white votes in the precincts that are part of Livingston CD2. Dr. Liu reviewed

12 statewide elections from 2014–2022 and concluded that the Black-preferred

candidate would only receive 42.3% of the total votes cast in Livingston CD2, and




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would thus be defeated by the white-preferred candidate in every election. Liu

Remedial Report, ECF No. 200-2 at 3.

      And if the candidate were herself Black, the expert testimony provided by

the parties indicates that the candidate will garner even less support than if the

candidate were white. Compare Liu Report, ECF No. 200-2, (Black candidates are

likely to lose by 11.4% in Livingston Plan CD2) with ECF No. 201-2, Ex. B (when

an election set that includes a mix of Black and non-Black candidates is

considered, the Democratic candidate will lose by about 6.8%).

II.   Alabama Is Directly Defying the Supreme Court’s Decision in Allen v.
      Milligan

      There can be no serious doubt that the Republican supermajority in the

Alabama Legislature defied the Milligan decision when it enacted S.B. 5. The

District Court directed the Alabama Legislature to implement a remedial

redistricting scheme that includes “two districts in which Black voters either

comprise a voting-age majority or something quite close to it.” Singleton v. Merrill,

582 F. Supp. 3d 924, 936 (N.D. Ala. 2022), order clarified, No. 2:21-CV-1291 and

No. 2:21-cv-1530, 2022 WL 272637 (N.D. Ala. Jan. 26, 2022), and aff'd sub nom.

Allen v. Milligan, 143 S. Ct. 1487 (2023)). That holding was affirmed and adopted

in its entirety by the Supreme Court. Milligan 143 S. Ct. at 1506 (“We see no reason

to disturb the District Court's careful factual findings, which are subject to clear error

review and have gone unchallenged by Alabama in any event . . . Nor is there a

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basis to upset the District Court's legal conclusions.”) (internal citation omitted). As

set forth above, the new map fails to adhere to the Court’s directive—just as with

H.B. 1, S.B. 5 includes only one majority-minority district and continues to dilute

Black Alabamians’ voting power.

      The Legislature’s task should have been a simple one. It had at its disposal

“at least eleven illustrative remedial plans to consult” to use as models when enacting

new district lines that would comply with Section 2. Singleton, 582 F. Supp. 3d at

1034. The enactment of district lines that suffer from the exact same infirmities as

the district lines that were previously stricken demonstrates that the Alabama

Legislature is steadfastly committed to maintaining a discriminatory redistricting

scheme.

      The Supreme Court has previously stated in the voting rights context that

“[b]latantly discriminatory evasions of federal decrees are rare.” Nw. Austin Mun.

Util. Dist. No. One v. Holder, 557 U.S. 193, 202 (2009). If so, this is that unfortunate

rare case. In the face of a clear judicial mandate to enact a redistricting scheme that

creates two majority-minority districts or “something quite close to it,” the Alabama

legislature has demonstrated that it remains willing and eager to engage in racially

discriminatory vote dilution in contravention of a federal decree. Such an attempt

must not be tolerated; the Court’s holding must have teeth.




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                               CONCLUSION
      The Court should enjoin Alabama’s redistricting map and direct the Special

Master to redraw a map that complies with the Voting Rights Act.

Dated: August 3, 2023                   Respectfully submitted,


    /s/ J. Mark White                   ROBERT FRAM**
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                          CERTIFICATE OF SERVICE

      I hereby certify that, on August 3, 2023, I electronically filed the foregoing

with the Clerk of the Court using the CM/ECF system and caused to be served by

email a copy of this filing to counsel of record.


                                                    By /s/ J. Mark White
                                                       J. Mark White




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